     Case 2:19-cv-00403-MRM Document 47 Filed 05/20/20 Page 1 of 1 PageID 478




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

DARYL TEBLUM, individually and
on behalf of all others similarly situated,

            Plaintiff,

v.                                                            Case No: 2:19-cv-00403-SPC-MRM


PHYSICIAN COMPASSIONATE
CARE, LLC d/b/a DOCMJ,

            Defendant.
                                              /

                                  NOTICE OF SETTLEMENT

         Plaintiff Daryl Teblum, pursuant to Middle District Local Rule 3.08, hereby notifies the

Court that the parties have reached an agreement in principle to settle the litigated claims in this

case on a class-wide basis, subject to Court approval. The parties are presently drafting a written

Settlement Agreement and related documents, which the parties will endeavor to file with the

Court as part of a Motion for Preliminary Approval on or before June 5, 2020.

Date: May 20, 2020



                                                     Respectfully submitted,

                                                     HIRALDO P.A.

                                                     /s/ Manuel S. Hiraldo
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